Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 1 of 24 PageID 21232

REGIONS BANK,

Vv.

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

Plaintiff,

CASE NO. 8:12-CV-1837-T-17MAP

MARVIN I. KAPLAN, et al.,

Defendants.

ORDER

This cause is before the Court on:

Dkt.

Dkt.
Dkt.
Dkt.

Dkt.
Dkt.
Dkt.
Dkt.

Dkt.
Dkt.

Dkt.

Dkt.
Dkt.

895

896
913
914

940
948
953
954

956
982

987

989
994

Motion for Supplemental Final Judgment

Awarding Fees, Costs and Expenses Against

Kaplan Parties (Regions)

Notice (Regions)

Response (Kaplan Parties)

First Motion to Bifurcate Entitlement to

Fees and Costs Regarding Regions Bank’s

Motion for Supplemental Final Judgment (Kaplan Parties)
Opposition to Motion to Bifurcate (Regions)
Supplemental Notice of Filing (Regions)
Supplemental Memorandum and Objections(Kaplan Parties)
Notice of Filing in Support of Supplemental
Memorandum (Kaplan Parties)

Report and Recommendation

Corrected Objections to Report and Recommendation
(Regions)

Motion for Leave to Submit Unredacted Invoices

For In Camera Review (Regions)

Response to Corrected Objections (Kaplan Parties)
Motion for Leave to Submit Reply Memorandum and
Declaration (Regions)
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 2 of 24 PageID 21233

Case No. 8:12-CV-1837-T-17MAP

Dkt. 995 Response in Opposition to Motion for Leave
to Submit Unredacted Invoices For In Camera Review
(Kaplan Parties)

Dkt. 997 Response in Opposition to Motion for Leave to File
Reply (Kaplan Parties)

Regions Bank's Motion for Supplemental Final Judgment Awarding Fees,
Costs and Expenses Against Kaplan Parties (Dkt. 895), and Kaplan Parties’ First
Motion to Bifurcate Entitlement to Fees and Costs Regarding Regions Bank’s Motion
for Supplemental Final Judgment (Dkt. 914) were referred to the assigned Magistrate
Judge for a Report and Recommendation. Oral argument was conducted on June
18, 2018. A Report and Recommendation (Dkt. 956) has been entered in which it is
recommended that the Motion for Supplemental Final Judgment Awarding Fees,
Costs and Expenses be granted in part and denied in part, and the First Motion to
Bifurcate Entitlement to Fees and Costs Regarding Regions Bank’s Motion for

Supplemental Final Judgment be denied.

Magistrate Judge Pizzo concluded that Regions Bank is entitled to recover
its reasonable attorney's fees and costs associated with the breach of deposit
agreement counts, the UCC counts, and the defense of the counterclaims
(negligence/negligent misrepresentation and defamation/invasion of privacy)
the Kaplan Parties asserted against Regions, but is not entitled to recover the
attorney's fees and costs incurred in prosecuting the tort claims. (Dkt. 956, p. 9).
The tort claims include civil conspiracy, fraudulent concealment, conversion and

aiding and abetting against the Kaplan Entities and Marvin I. Kaplan individually.

Regions Bank has filed Objections to the Report and Recommendation,

objecting to some of the recommendations.
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 3 of 24 PageID 21234

Case No. 8:12-CV-1837-T-17MAP

The Kaplan Parties have filed a response to the Objections.
I. Standard of Review

Under the Federal Magistrates Act, Congress vested Article Ill judges with
the power to “designate a magistrate judge to hear and determine any pretrial
matter pending before the court,” subject to various exceptions. 28 U.S.C. 636
(b)(1) . The Act further vests magistrate judges with authority to submit proposed
findings of fact and recommendations for disposition by an Article lll judge. 28
U.S.C. Sec. 636(b)(1)(B). “Within fourteen days after being served with a copy
[of a magistrate judge’s Report and Recommendation], any party may serve
and file written objections to [the magistrate judge’s] proposed findings and
recommendations.” 28 U.S.C. Sec. 636(b)(1). The district judge must determine
de novo any part of the magistrate judge’s disposition that has been properly
objected to. Regarding the scope of review, litigants generally must present their
evidence and arguments to the magistrate judge in the first instance to preserve
review; however, the district court may, in its discretion, consider arguments and
evidence presented for the first time in an objection to a report and recommendation.
Williams v. McNeil, 557 F.3d 1287, 1291-92 (11" Cir. 2009). After concluding its
review, “[t]he district judge may accept, reject, or modify the recommended disposition,
receive further evidence, or return the matter to the magistrate judge with
instructions.” Fed. R. Civ. P. 72(b)(3).

As the Eleventh Circuit Court of Appeals has explained, a party's objections
must “specifically identify the portions of the proposed findings and recommendation
to which objection is made and the specific basis for objection.” Macort v. Prem, Inc.,
208 Fed. Appx. 781, 783 (11th Cir. 2006) (quoting Heath v. Jones, 863 F.2d 815,
822 (11th Cir.1989)). “It is critical that the objection be sufficiently specific and not a
general objection to the report.” Id. at 784 (citing Goney v. Clark, 749 F.2d 5, 7

 

3
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 4 of 24 PagelID 21235

Case No. 8:12-CV-1837-T-17MAP
(3d Cir.1984)).

I. Dkt. 914 First Motion to Bifurcate Entitlement to
Fees and Costs Regarding Regions Bank’s
Motion for Supplemental Final Judgment (Kaplan Parties)
In the Report and Recommendation, Magistrate Judge Pizzo recommended

that the Motion to Bifurcate Entitlement to Fees and Costs be denied.

The Court has independently reviewed the record and the pleadings.
No objections to the Report and Recommendation as to the Motion to Bifurcate
have been filed. After consideration, the Court adopts the Report and
Recommendation as to this issue, and denies the First Motion to Bifurcate
Entitlement to Fees and Costs. (Dkt. 914).

tL. Dkt. 987 Motion for Leave to Submit Unredacted Invoices For
In Camera Review
Regions seeks leave to submit the unredacted invoices of Trenam Law

to the Court for in camera review.
The Kaplan Parties oppose Regions’ Motion.

The Report and Recommendation was entered on June 25, 2018.
Regions filed the Motion for Leave to Submit Unredacted Invoices for In Camera
Review on August 30, 2018.

Regions has objected to the recommendations of the Magistrate Judge
as to across-the-board reductions of reasonable hours expended. (Dkt. 982).
In conjunction with Regions’ objection to the reduction of the reasonable hours

of Trenam Law, Regions has requested leave to submit to the undersigned
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 5 of 24 PageID 21236

Case No. 8:12-CV-1837-T-17MAP

unredacted invoices that were not furnished to the Magistrate Judge for his

consideration before entering the Report and Recommendation.

The Eleventh Circuit has held that the district court has discretion to decline
to consider a party’s argument when that party’s argument was first raised in the
party’s objections to the magistrate judge’s report and recommendation. Williams
v. McNeill, 557 F.3d 1287, 1291-92 (11™ Cir. 2009); see also The Travelers Home
and Marine Insurance Co. v. Calhoun, 2014 WL 1328968 (M.D. Fla. Apr. 2, 2014).
The Eleventh Circuit recognizes that “[s]ystematic efficiencies would be frustrated and
the magistrate judge’s role reduced to that of a mere dress rehearser if a party were
allowed to feint and weave at the initial hearing, and save its knockout punch for the
second round.” Williams at 1292 (quoting United States v. Howell, 231 F.3d 615,
622 (9th Cir. 2000)). Further, “it would be fundamentally unfair to permit a litigant to
set its case in motion before the magistrate, wait to see which way the wind was
blowing, and—having received an unfavorable recommendation—shift gears before
the district judge.” Id (quoting Paterson-Leitch Co. v. Mass. Mun. Wholesale Elec.
Co., 840 F.2d 985, 991 (1st Cir.1988)).

The Court finds it inappropriate to consider evidence and arguments presented
for the first time in Regions’ Objections, and declines to do so. After consideration,
the Court denies the Motion for Leave to Submit Unredacted Invoices for
In Camera Review. (Dkt. 987).

IV. Discussion - Regions’ Objections

Regions Bank is seeking the award of attorney’s fees and costs
associated with successfully prosecuting its breach of contract and UCC
claims through summary judgment, successfully defending the Kaplan Entities’

counterclaims against it, and litigating the issue of attorney’s fees. (Dkt. 895).

5
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 6 of 24 PageID 21237

Case No. 8:12-CV-1837-T-17MAP

Regions was represented by Trenam Law (“TL”), and then by Garbett, Allen &
Roza, P.A. (“GAR”). Regions initially requested the following amounts for attorney's

fees and
costs:
Fees Costs
GAR $1,548, 356.56 $168,052.09
TL $ 101,200.97 932.00

At the hearing, Regions agreed to subtract the fees associated with Richard Fechter,

$71,872.59 from its costs; Regions now seeks to recover $96,179.50 in costs.

The Report and Recommendation (Dkt. 956) recommends the

following amounts for attorney's fees and costs:

GAR $604,692.50 $ 48,089.75
TL $ 50,600.00 $ 932.00

Regions asserts that the recommendation should be rejected in part.
A. General Principles

Florida has adopted the federal lodestar approach as the foundation for setting
reasonable fee amounts. Fla. Patient's Compensation Fund v. Rowe, 472 So.2d
1145, 1150 (Fla.1985). This method requires the court to determine a “lodestar
figure” by multiplying the number of hours reasonably expended on the litigation
by a reasonable hourly rate for the services of the prevailing party’s attorney.

Id, at 1151. See also Standard Guaranty Ins. Co. v. Quanstrom, 555 So.2d 828,
830-35 (Fla.1990)
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 7 of 24 PagelID 21238

Case No. 8:12-CV-1837-T-17MAP

The fee applicant bears the burden of presenting satisfactory evidence to
establish that the requested rate is in accord with the prevailing market rate and that
hours are reasonable. Fla. Patient’s Compensation Fund v. Rowe, 472 So.2d at
1150-51. In addition, the court itself is an attorneys’ fee expert and may consider
its own knowledge and experience concerning reasonable and proper fees. Norman
v. Housing Authority of City of Montgomery, 836 F.2d 1292, 1303 (11" Cir. 1988).

The Supreme Court has explained:

A request for attorney’s fees should not result in a second
major litigation. Ideally, of course, litigants will settle the amount
of afee. Where settlement is not possible, the fee applicant
bears the burden of establishing entitlement to an award and
documenting the appropriate hours expended and hourly rates
The applicant should exercise “billing judgment” with respect to
hours worked, ...and should maintain billing time records in a
manner that will enable a reviewing court to identify distinct claims.

Hensley v. Eckerhart, 461 U.S. 424, 437 (1983) (emphasis added).
B. Reasonable Hourly Rates

Regions asserts that Magistrate Judge Pizzo recommended reducing
these rates to the amounts actually charged to Regions, ignoring the alternative fee
clause, which was found to be enforceable, and the Court’s prior order, which was
found to be non-binding. Regions objects to the Report and Recommendation as to
recommended reasonable hourly rates, arguing that the Court has already found
that the reasonable hourly rates for David Garbett and Joseph D. Perkins are
$525 and $310 respectively. (Dkt.815). Regions incorporates by reference the
prior Motion for Award of Attorney’s Fees and Expenses For Cancelled Depositions
and Declaration. (Dkt. 614, 614-1).
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 8 of 24 PageID 21239

Case No. 8:12-CV-1837-T-17MAP

The Kaplan Parties respond that the hourly rates set by the Report and
Recommendation are reasonable, and are based on the Magistrate Judge’s review
of the alternative fee clause and the Magistrate Judge’s experience and knowledge
of prevailing market rates for the type of litigation for which fees are being awarded.
The Kaplan Parties assert that Regions’ insistence that the rate awarded be the
maximum is unfounded in case law, which demands that the Court reach a

reasonable hourly rate.
In the Report and Recommendation, Magistrate Judge Pizzo found:

...f | were to find Mr. Garbett and his firm's proposed hourly rates
reasonable, | would be awarding Regions more in fees than it actually
paid.

To be sure, | am not limited by the contractual fee agreement between
Regions and Garbett, Allen & Roza, and am free to award a higher fee
than the one the firm actually charged Regions. See First Baptist Church
of Cape Coral, Fla. v. Compass Constr., Inc., 115 So.3d 978 (Fla. 1013)
(alternative fee clause is valid and enforceable in Florida). But neither
am | bound to the Court's prior hourly rate determination. See Thermoset
Corp. v. Building Materials Corp. of Am., No. 14-60268-CIV-Cohn/Seltzer,
2016 WL 3944033, at *5 (S.D. Fla. Jan. 15, 2016 (court not required to
calculate fees based on claimed hourly rates merely because an
alternative fee agreement exists; the fee still must be reasonable)

Mr. Garbett and Mr. Perkins are no doubt established, accomplished
attorneys who obtained a satisfactory result for Regions. But my job
remains to determine their reasonable hourly rate, and | find the rates
they request miss that mark. See Norman, 836 F.2d at 1303 (the court
itself is an expert).

Based on the Court’s own knowledge as to prevailing hourly

rates charged in similar commercial litigation cases in this

district, | conclude that the reasonable hourly rates approximate
those actually paid by Regions: Mr. Garbett, $435 for work performed
up to January 1, 2017, and $485 thereafter; Mr. Perkins, $220 for
work performed up to January 1, 2017, and $310 thereafter; Mr.
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 9 of 24 PageID 21240

Case No. 8:12-CV-1837-T-17MAP

Kaskel, $240 for all work; Ms. Herrara, $116.25 for all work, Ms.
Guzman, $112.50 for all work performed up to January 1, 2017
and $160 thereafter; Ms. Baskerville, $85 for all work.

(Dkt. 956, pp. 21-22).

The Court notes that “[a] reasonable hourly rate is the prevailing market rate in
the relevant legal community for similar services by lawyers of reasonably comparable
skills, experience, and reputation.” Norman v. Housing Authority of City of
Montgomery, 836 F.2d 1292, 1299 (11th Cir.1988). “The general rule is that the
‘relevant market’ for purposes of determining the reasonable hourly rate for an
attorney's services is ‘the place where the case is filed.’” ACLU v. Barnes, 168 F.3d
423, 437 (11th Cir.1999) (quoting Cullens v. Ga. Dep’t of Trans., 29 F.3d 1489, 1494
(11th Cir.1994)). “Ifa fee applicant desires to recover the non-local rates of an
attorney who is not from the place in which the case was filed, he must show a lack
of attorneys practicing in that place who are willing and able to handle his claims.”
Barnes, 168 F.3d at 437; see also Brooks v. Ga. State Bd. of Elections, 997 F.2d 857,
869 (11th Cir.1993) (upholding decision to award non-local rates based on the district
court's finding that there were no local attorneys who could have handled the case);
Am. Charities For Reasonable Fundraising Regulation, Inc. v. Pinellas County., 278
F.Supp.2d 1301, 1310 n. 4 (M.D. Fla. 2003).

The burden is on Regions to establish the claimed market rate. GAR argues
that other courts in this district have awarded similar or higher rates for comparable
counsel in complex litigation in this district. (Dkt. 614-1, pp. 5-6). Although Regions
asserts familiarity with the “market in Central Florida for hourly rates for attorney
professionals” the cases cited in the declaration (Dkt. 614-1, p. 4) resemble this case
only in the general sense that the cases are complex, and the professionals are
experienced. The Court has looked for supporting evidence that establishes
the rates actually billed and paid in similar lawsuits in Tampa. While In re Dunkin’s
Diamonds, Inc., 420 B.R. 883 (Bankr. M.D. Fla. 2009) is a Tampa case, the rate of

 

9
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 10 of 24 PageID 21241

Case No. 8:12-CV-1837-T-17MAP

$500 per hour was approved without objection. The Court further notes that Regions
has not made any showing of a lack of local attorneys willing and able to handle this
case. Hourly rates which are routinely found to be reasonable in Miami are not

necessarily reasonable in Tampa.

The Court notes that there is no objection to the hourly rates of Trenam Law.

After consideration, the Court overrules Regions’ objection as to reasonable
hourly rates.

C. Reasonable Hours

In the Report and Recommendation, in determining Regions’
entitlement to fees and costs, Magistrate Judge Pizzo found:

“Additionally, the fee provision is broad enough to include fees
associated with Regions’s UCC counts, which—along with
Regions’s defense of the counterclaims asserted against it-
are all based on a common core of facts. “Florida law explicitly
provides that ‘claims arise out of a contract if they are
inextricably intertwined with the contract.’”...(citations omitted).
Although the UCC counts addressed the Kaplan Entities’ failure
to fulfill statutory obligations, these claims cannot be separated
from the deposit agreements. Regions’s damages are for the
overdraft amounts it lost pursuant to the contract; in other words,
Regions alleged no claim that could exist without the contract.

The Kaplan Entities conceded this at the hearing. They also
agreed that Regions’s defense of the counterclaims was
inextricably intertwined with the deposit agreemenits....

Regions is entitled to recover its reasonable attorneys’ fees and
costs associated with its breach of deposit agreement counts,
its UCC counts, and its defenses of the counterclaims the
Kaplan Parties asserted against it. Regions is not entitled to

10
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 11 of 24 PageID 21242

Case No. 8:12-CV-1837-T-17MAP

its fees and costs incurred in prosecuting the tort claims,
a point it concedes. (*Dkt. 956, pp. 8-9). (emphasis added).

1. Garbett, Allen & Roza, P.A.

Regions objects to Report and Recommendation as to the recommended

reduction of GAR’s reasonable hours expended.

After the hearing, Regions submitted a spreadsheet detailing the services
included in the fee application. (Dkt. 948). The total reflects $1,576,308.50 for
attorneys’ fees incurred in prosecuting the contract and UCC claims, and
resisting the counterclaim, but excluding services dedicated solely to the tort
claims. Regions asserts that the requested fees include services dedicated
to both the non-tort and tort claims because the core facts are the same, and it

was not possible to separate the time. (Dkt. 982, p. 8).

Regions included the tort claims of conversion, fraudulent concealment,
aiding and abetting, and civil conspiracy in the Second Amended Complaint.
These claims are premised on a different theory than the non-tort claims and involve

different facts, such as :

11. Kaplan Parties and Smith Advertising & Associates, Inc. (“SAA”)
conducted a massive kiting scheme between a deposit account
maintained by SAA at Bridgeview Bank in Illinois and Kaplan
Entities’ deposit accounts with Regions as more particularly
described below. (Dkt. 190).

Regions argues that Magistrate Judge Pizzo noted the detailed spreadsheet,
but concluded he did not have enough time to review the entries to determine

whether the tort services were excluded or whether GAR’s entries duplicated any

ii
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 12 of 24 PagelID 21243

Case No. 8:12-CV-1837-T-17MAP

of Trenam Law.

In the Report and Recommendation, Magistrate Judge Pizzo states:

The invoices from Mr. Garbett’s firm span 494 pages (doc. 896-2);
Trenam Law's invoices are 83 pages long (doc. 896-5). Mr. Garbett has
redacted his firm’s invoices so extensively (to omit charges related to
trying Regions’s unsuccessful tort claims) that it is impossible to verify
his total fee request except by adding up each individual entry. Although
he filed a spreadsheet after the hearing that contains just the time
entries for which Regions seeks reimbursement, it is 295 pages long
(doc. 948-1). Without a massive expenditure of time, | cannot figure out
how Mr. Garbett arrived at his final lodestar figure, whether he accurately
excluded entries (or portions of entries) related to Regions’s tort claims,
or whether multiple attorneys billed for the same task (either with Garbett,
Allen & Roza or between that firm and Trenam Law).

Neither the invoices, the declarations, nor the spreadsheet summarizes
the hours expended by the nature of the activity or stage of the case

or the amount of time each attorney spent during that particular stage.
The Court in Norman, 836 F.2d 1292 suggests such a format, noting
that courts are often faced with inadequate fee applications. But aside
from promoting this workable format, Norman teaches two other points.
See Regions Bank v. Hyman, 2013 WL 12166237 at *2 n.1 (M.D. Fla.
Aug. 26, 2013). Even if the fee petition lacks support, “the court is

not relieved of its obligation to award a reasonable fee,” assuming

an award is appropriate. Id. (quoting Norman, 836 F.2d at 1303).

And, the district court should be mindful of its neutrality and not

depart from that position by coaching either party on the proper
preparation of their pleadings. Id.

 

...1o a large degree, however, this case evades the application of
Norman....the burden is on Regions at this stage, and at bottom
the format of Regions’s fee petition makes my task much more
difficult. “Where the fee documentation is voluminous, such as

in the instant case, an hour-by-hour review is simply impractical
and a waste of judicial resources.” Loranger v. Stierheim, 10 F.3d
776, 783 (11" Cir. 1994). “[I]t is sufficient for the court to provide
a concise by clear explanation of its reasons for the reduction.”
Id. A court is permitted to make an across-the-board percentage
cut in the number of hours claimed or in the final lodestar figure,

12
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 13 of 24 PagelD 21244

Case No. 8:12-CV-1837-T-17MAP

so long as the court “concisely but clearly articulates their reasons
for selecting specific percentage reductions.” Id.

Dkt. 956, pp.11-12).

In Dillard v. City of Greensboro, 213 F.3d 1347, 1355 n. 9 (11" Cir. 2000),
the Eleventh Circuit observed:

“The district court adjusted the fee “above the line” by reducing the
number of hours by 30% across the board before calculating the
lodestar. In the end, of course, the result is the same whether you
adjust the fee itself or the number of hours spent, and the Supreme
Court has approved both approaches. See Hensley, 461 U.S. at
436-37, 103 S.Ct. at 1941 (“There is no precise rule or formula for
making these determinations. The district court may attempt to
identify specific hours that should be eliminated, or it may simply
reduce the award to account for limited success.”)

In this case, after calculating the lodestar, Magistrate Judge Pizzo made no
further adjustments, due to the reduction in the reasonable number of hours billed.
(Dkt. 956, p. 23). As to the tort claims, Magistrate Judge Pizzo reduced each
timekeeper’s hours by the amount of time spent on the tort claims, as indicated by
the supplemental filing of the Kaplan entities. (Dkt. 953, p. 3; Dkt. 954).

a. GAR - Tort Claims

Regions argues that Magistrate Judge Pizzo was in error in excluding
268 hours from the total of 4377.10 hours to account for services related to
the tort claims for which Regions was not the prevailing party, and then
recommending additional across-the-board reductions. Bivins v. Wrap It Up, Inc.,
548 F.3d 1348 (11" Cir. 2008)(“[I]n arriving at the lodestar, the district court
conducted both an hour-by-hour analysis and applied an across-the-board

 

13
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 14 of 24 PagelID 21245

Case No. 8:12-CV-1837-T-17MAP

reduction of the requested compensable hours. Our circuit’s precedent states

that the district court is to apply either method, not both’).

Regions also objects to the exclusion of any fees for entries
mentioning kiting, because although kiting was related to the tort claims,
kiting was also an affirmative defense to the negligence/negligent misrepresentation

counterclaim asserted by the Kaplan Entities.

The Kaplan Entities respond that Regions has misconstrued the procedure
undertaken by the Magistrate Judge. The Kaplan Parties rely on Loranger v.
Stierheim, 10 F.3d 776, 783 (11" Cir. 1994)(“Rather, once the district court
determines how many hours were actually devoted to the conduct of the federal
litigation, it may then reduce that figure in gross if a review of the resubmitted fee
request warrants such a reduction”). In Loranger, the movant submitted a voluminous
fee application requesting more than 2700 hours of time spent, where the actual
time spent litigating the Federal action at issue was considerably less. The Kaplan

Entities argue:

Once the court reduced the compensable time by eliminating non-
compensable entries, the Court was then permitted to engage in
further percentage reductions (rather than hour-by-hour analysis
as proposed by Regions) to reach a reasonable fee award.

Id. at 783. That is precisely what the Magistrate Judge did here.

It was undisputed by Regions that the [time] spent litigating the
tort claims [was] not compensable, and Regions heavily redacted
a large portion of the submitted time entries to omit entries that

it deemed to be devoted to prosecution of those claims.”

(Dkt. 989, p. 3)

The Kaplan Entities marked a number of additional entries that they contended should
have been omitted from the fee award as they too concerned the tort claims exclusively.

(Dkt. 954). Inthe Report and Recommendation, Magistrate Judge Pizzo agreed and

14
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 15 of 24 PagelID 21246

Case No. 8:12-CV-1837-T-17MAP

omitted those entries.

The Kaplan Parties argue that this was not a prohibited combination of hour-by-
hour analysis with a percentage reduction; it acknowledged a point that Regions had
conceded: billing entries related solely to tort claims are categorically non-
compensable. The Kaplan Parties argue that Magistrate Judge Pizzo then reviewed
the remaining categories of expended hours and made across-the-board reductions to
each category because many of the hours expended necessarily involved some
non-compensable work, but it was either a waste of judicial resources to separate
from the compensable hours, or the time spent was otherwise excessive for that
particular category. The Kaplan Parties further argue that Magistrate Judge Pizzo
provided clear and concise reasons for each of the reductions, keeping in mind
the complexity of the case and limitations in scope for the compensable time,
which was limited to Regions’ statutory claims and defenses to the Kaplan
Entities’ negligence defenses and counterclaim. The Report and Recommendation
recommended that the time requested by GAR be reduced from 4,368.40 hours
to 2,161.20 hours, consistent with its discretionary ability under Loranger.

In the Declaration, GAR explains the methodology for the hours included

in the fee petition:

| have reviewed the Final Statements for services rendered

or prebills if Final Statements were not yet available in order to
determine the attorney’s fees, costs and expenses for services
relating to (a) the prosecution of the claims for breach of the
governing agreements (the Deposit Agreement and Funds
Transfer Agreement (“FTA”) and the UCC claims; (b)
defending against the initial and Amended Counterclaim/
Crossclaim; and (c) preparing this motion (collectively
“Included Services”). On April 18, 2016, the Court entered
Orders disposing of motions for summary judgment, the effect
of which was to grant summary judgment to Regions on its

15
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 16 of 24 PageID 21247

Case No. 8:12-CV-1837-T-17MAP

contract and UCC claims and to dismiss the negligence/
negligent misrepresentation claim against Regions

in the Amended Counterclaim/Crossclaim . This left

the remaining tort claims for trial. In reviewing the billing
data, | endeavored to eliminate entries and time (a)

solely dedicated to prosecuting the tort claims; and

(b) occurring after the Court entered the summary judgment-
related orders on April 18, 2016 because the remaining claims
for trial were tort claims for which Regions is not seeking
reimbursement of fees, costs and expenses through

this motion (collectively, “Excluded Services”), unless

the post-April 18, 2016 entries relate to the UCC and
contract claims, defending against the Counterclaim/
Crossclaim, or preparation of this motion, in which case

| included the entry in Included Services. If an entry
included both Included Services and Excluded Services,
but | could not parse out one from the other, | included
the entry. There are some entries that have both

Included Services and Excluded Services and the
delineation is clear. If so, | included only the

Included Services and excluded the Excluded Services.

| also caused redactions of entries constituting
work-product or attorney-client privileged communications.
(Dkt. 896-1, pp. 4-5). .

The undersigned has reviewed the Supplemental Memorandum
(Dkt. 953) and Notice of Filing in Support of Supplemental Memorandum (Dkt. 954,
color coded , 497 pages)(yellow = tort-related, excludable; purple = summary
judgment, not tort-related only, partially excludable; green = trial preparation
(January, 2016 to May, 2016), tort-related, excludable; blue = sanctions-related).

Magistrate Judge Pizzo excluded the hours as related to the unsuccessful
tort claims. (Dkt. 956, p. 14).

As noted above, the tort claims involve a different core of facts than the

contract and UCC claim. In the response to Kaplan Parties’ Motion for Summary

16
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 17 of 24 PagelID 21248

Case No. 8:12-CV-1837-T-17MAP

Judgment, Regions argued that the conduct of the Kaplan Parties “went well beyond
mere breach of contract.” (Dkt. 576, p. 15). The Court found:

Under Florida law, when there is some wrongful conduct

which amounts to an independent tort in addition to the

conduct resulting in a contractual breach, a tort claim

can be appropriate... The facts in this case, which include

an alleged check kiting scheme, multiple entities, multiple

bank accounts, and intentional manipulation of the check
collection process, with intent to defraud Regions, are

beyond a breach of contract action for nonpayment of overdrafts.

(Dkt. 654, pp. 25-27).

In other unusual cases, the Court has found it necessary to make both
types of reductions. See, e..g., American Charities For Reasonable Fundraising
Regulation, Inc. v. Pinellas County, 278 F.Supp.2d 1301, 1323 (M.D. Fla. 2003).

After consideration, the Court overrules Regions’ objection as to this issue.
b GAR - Summary Judgment

Regions further objects to the recommendation of an across-the-board
reduction in connection with Regions’ Motion for Summary Judgment. In the Report
and Recommendation, Magistrate Judge Pizzo states that “Regions moved for
summary judgment on all of its 32 counts and prevailed on 16 of them.” Regions
argues that the Court should not adopt the recommendation as to this issue, because
Regions only sought summary judgment on the contract and the UCC claims, not on
the tort claims. (Dkt. 543).

The Kaplan Parties respond that Regions’ objection that the Report and

Recommendation incorrectly reduced categories of awards for work for tort and non-

17
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 18 of 24 PageID 21249

Case No. 8:12-CV-1837-T-17MAP

tort claims should be overruled. The Kaplan Parties argue that the substance of
Regions’ compensable claims and defenses was almost exclusively that the Kaplan
Entities had bank accounts with Regions that became overdrawn after a series of
outgoing wires and returned checks hit the accounts, and whether Regions was
negligent in allowing multi-million dollar wires to leave the accounts without
confirming that actual funds were in the accounts to support the outgoing wires.
However, the non-compensable claims operated around a different core of facts,
which included facts such as Marvin Kaplan and the Kaplan Entities were conspirators
in a multi-million dollar check kiting scheme that ended with Smith Advertising &
Associates, Inc. absconding with millions of dollars Regions’ money. The Kaplan
Parties argue that the Report and Recommendation correctly determined that these
two sets of facts, while relating to the same people and subject matter, involved
entirely different cores of facts and therefore percentage-based cuts to the categories
of billing records were appropriate where the billing entries themselves did not clearly
differentiate between the claims, and after the Magistrate Judge clearly held

that an hour-by-hour review would be a waste of judicial resources.

The Court notes that Regions did not move for summary judgment on
the tort claims. (Dkt. 543). However, the Kaplan Entities moved for summary
judgment on the tort claims, (Dkt. 553, pp. 10-2), to which Regions filed a response
(Dkt. 576). The Court granted in part and denied in part the Motion for Summary
Judgment on the tort claims. (Dkt. 654).

Magistrate Judge Pizzo determined that a 50% reduction of summary-
judgment related time entries was reasonable considering the relative success that
Regions achieved at the summary-judgment stage, reducing the total hours by
an additional 166.35 hours. (Dkt. 956, p. 16).

18
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 19 of 24 PageID 21250

Case No. 8:12-CV-1837-T-17MAP

The Court has found that the tort claims involve a different core of facts
than the contract and UCC claims. After consideration, the Court overrules Regions’

objection as to this issue.
C. GAR - Trial Preparation

Regions further objects to the recommendation of an across-the-board
reduction as to trial preparation. Regions argues that the contract and UCC
claims, the negligence/negligent misrepresentation counterclaims, and the
tort claims are inextricably intertwined as the claims are based on a common core of
facts, and the time necessary to prepare for trial could not be separated. Regions
argues that where the services are discrete, such as the trial, Regions excluded

those time entries.

Magistrate Judge Pizzo noted that the purple-highlighted entries are
trial-related, and, after reviewing the entries, found that the attorneys’ and
paralegals’ block descriptions of their time did not permit him to separate hours
spent preparing for the trial of Regions’ contract and UCC claims (live claims until
the April 2016 summary judgment Order) from hours spent preparing for the trial of
its tort claims. Magistrate Judge Pizzo applied a 50% reduction of time from 999
hours to 499.5 hours.

The Court has found that the tort claims involve a different core of facts than
the contract and UCC claims. The tort claims are not inextricably intertwined with
the contract and UCC claims. After consideration, the Court overrules Regions’

objections as to this issue.

19
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 20 of 24 PageID 21251

Case No. 8:12-CV-1837-T-17MAP

d. GAR - Discovery

Regions further objects to the recommendation of an across-the-board
reduction for the discovery phase. Regions argues that discovery started in
2012, but Regions did not assert the tort claims until November 21, 2013. (Dkt. 190).
Regions argues that Magistrate Judge Pizzo’s statement that a “significant portion
of Regions’ effort during the discovery phase was spent chasing its fraud
and conspiracy theories” is not supported by citation to specific entries. Further,
Magistrate Judge Pizzo noted the counterclaim “broadened the scope of discoverable

information and demanded Regions’ attention.” (Dkt. 956, p. 18).

Regions again objects to the elimination of any entry mentioning kiting as
solely related to unsuccessful tort claims, because Regions was entitled to gather
evidence relating to its affirmative defense that the Kaplan Entities and Kaplan were

involved in kiting, using the accounts for illegal purposes. (Dkt. 388, pp. 39-40).

Regions objects that Magistrate Judge Pizzo’s attempt to minimize this case
to four days of simple money exchange transactions is unfair and not reflective of
the complexity of the case, in light of the fact that the trial, which involved the
same common core of facts in the UCC and contract claims and the negligence/

negligent misrepresentation counterclaim, lasted over three weeks.
The Kaplan Parties argued that all hours within the time period (December
2012 to October 2015) (2440.5 hours; all entries minus hours already deducted as

related to the tort claims.) should be reduced by 60%.

Magistrate Judge Pizzo found:

20
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 21 of 24 PageID 21252

Case No. 8:12-CV-1837-T-17MAP

Although impossible to parse from the invoices, a reasonable
conclusion is that a significant portion of Regions’s effort during

the discovery phase was spent chasing its fraud and conspiracy
theories. My review of the invoices also convinces me that Regions
billed for time spent reviewing other parties’ filings and formulating
a joint strategy with them. Some amount of this is expected in

a case involving as many parties and claims, counterclaims, and
cross-claims as this one, but some of these hours are unnecessary
and redundant. Much of Regions’s effort during discovery (other
than those clearly related to Regions’s tort claims), however, also
corresponds to the Kaplan Parties’ counterclaims, which broadened
the scope of discoverable information and demanded Regions’s
attention. (Dkt. 956, pp. 17-18).

Magistrate Judge Pizzo reduced the hours by 50%, from 2440.5 to 1220.25.
After consideration, the Court overrules the objections as to this issue.
2. Trenam Law

Regions objects to the recommended 50% reduction to the hours
reasonably expended by TL, solely because the invoices were redacted in
part. Regions argues that the invoices include redactions to avoid disclosure
of work-product and attorney-client privilege, the Kaplan Entities did not move
to compel the un-redacted versions, and the Magistrate Judge did not ask
for the un-redacted versions for in camera review, which Regions would have
immediately done. Regions contends there is no basis for the recommended
disposition; Regions will submit the un-redacted invoices to the Court for

in camera review.

The Kaplan Parties respond that courts routinely hold that heavily
redacted entries are non-compensable or otherwise will subject the fee

application to a reduction.

21
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 22 of 24 PagelID 21253

Case No. 8:12-CV-1837-T-17MAP

In the Report and Recommendation, Magistrate Judge Pizzo noted that
some of TL’s hours (January, 2012 through October, 2012) appear redundant of
time billed by GAR, whose representation began in July, 2012. Further, TL’s invoices
are heavily redacted, rendering it impossible to determine if the invoices are for
compensable services under the deposit agreements. Magistrate Judge Pizzo could
not determine “what the lawyers were researching, why they were conferencing, the
topics of their numerous telephone conferences, or what they were analyzing or
reviewing.” (Dkt. 956, p. 19).

The burden is on Regions to establish that the hours expended were
reasonable. The Court has denied Regions’ post-Report and Recommendation

Motion for leave to submit the unredacted invoices for in camera review.

After consideration, the Court overrules Regions’ objection as to the

recommended 50% reduction of TL’s reasonable number of hours expended.

D. Costs

Regions objects to the recommended 50% reduction of GAR’s expenses,
which is based solely on the Kaplan Entities’ assertion that the expenses “seem
too high,” without any specific objection, and, as to travel, is contrary to the Court’s
ruling that this case was complex enough to warrant two attorneys at depositions.
Regions argues that Regions “detailed with specificity the breakdown of the
expenses and also provided supporting invoices.” (Dkt. 895 at 22; Dkt. 896, par.
15 and Composite Exhibits A and B).

Regions argues that it had the burden of establishing its entitlement
to recover expenses and detailing the amounts, and the Kaplan Entities then

had the burden of challenging specific items. Peller v. KVH Indus., Inc., 2014

22
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 23 of 24 PageID 21254

Case No. 8:12-CV-1837-T-17MAP
WL 12617558 at *2 (M.D. Fla. 2014).

The Kaplan Entities respond that other courts have rejected similar requests
for costs due to lack of documentation. (Dkt. 989, p. 6). The Kaplan Parties
argue that Magistrate Judge Pizzo independently determined that Regions’

proposed costs were insufficiently suostantiated, and were excessive.
In the Report and Recommendation, Magistrate Judge Pizzo states:

This reduction is especially appropriate because the

documentation supporting Regions’s significant costs

is scant. Mr. Garbett’s declaration lists his firm’s costs by

category, and he attaches a spreadsheet that includes invoice

dates and amounts. | cannot verify that these amounts

correspond to the claims on which Regions prevailed, however,

because there are no supporting documents. (Dkt. 956, p. 24).

Magistrate Judge Pizzo encountered the same problem as to costs that
confronted Magistrate Judge Pizzo as to the attorney’s fees, which is that
there is no correlation linking the costs to the prosecution of the claims on
which Regions was successful, and is entitled to the award of fees and costs.

Magistrate Judge Pizzo therefore elected to use an across-the-board reduction.

After consideration, the Court overrules the objection as to this

issue. Accordingly it is
ORDERED that the Corrected Objections of Regions Bank (Dkt. 982) are

overruled, and the Report and Recommendation (Dkt. 956) is adopted and

incorporated by reference; it is further

23
Case 8:12-cv-01837-EAK-MAP Document 1004 Filed 03/29/19 Page 24 of 24 PagelID 21255

Case No. 8:12-CV-1837-T-17MAP

ORDERED that the Motion for Supplemental Final Judgment Awarding
Fees, Costs and Expenses Against Kaplan Parties (Dkt. 895) is granted in part and
denied in part; it is further

ORDERED that the First Motion to Bifurcate Entitlement to Fees and
Costs (Dkt. 914) is denied; it is further

ORDERED that the Motion for Leave to Submit Unredacted Invoices for
In Camera Review (Dkt. 987) is denied; it is further

ORDERED that the Motion for Leave to File Reply in Support of
Regions Bank’s Corrected Objections to Report and Recommendation (Dkt. 994)

is denied as moot. It is further

ORDERED that Regions Bank shall submit a proposed Amended Final
Judgment within fourteen days.

DONE and ORDERED in Chambers in Tampa, Florida on this day of
March, 2019.

co
—
oT OO Loe OP ok ae ee

owed FFARETH A Vg 0 \\7 ar

United States Districttudge

 

  
 
 
 

 

Copies to: — ie

oo

All parties and counsel of record

24
